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For Office Use Only

CIVIL COVER SHEET
The civil cover’ sheet neither replaces, nor supplements the filing and service of pleadings or other papers as
required by law. This form is required for use by the Clerk of the District Court for the ptfrposes of initiating the civil
docket sheet. This information will not be available to the public and this document will be stored in a separate
location from the case file and then destroyed within a reasonable time. A new case will not be accepted without a
cover sheet attached. (THIS FORM MUST BE TYPED OR PRINTED LEGIBLY). This form can be found at

www.kscourts.org.

 

NATURE OF SUIT (Click or mark in one circle only - If the case involves more than one of the following categories, indicate the
category having the highest dollar value)

 

 

CIVIL If a CH, 61: $ (Judgment Demand Amount)

TORT CONTRACT REAL PROPERTY OSTATE TAX
O Asbestos Product Liability O Buyer Plaintiff O Eminent Domain WARRANT
O Automobile Tort OEmployment Dispute - Discrimination © Mortgage Foreclosure
O Intentional Tort O Employment Dispute - Other O Other Real Property
O Legal Malpractice O Fraud
O Medical Malpractice O Landlord/Tenant - Unlawful Detainer MISCELLANEOUS
O Other Professional Malpractice OLandlord/Tenant Dispute - Other © 60-1507
O Premises Liability O Seller Plaintiff (debt collection) O Habeas Corpus
© Slander/Libel/Defamation © Other Contract O Other Writs
O Tobacco Product Liability
O Toxic/Other Product Liability CIVIL APPEALS @ OTHER CIVIL
O Other Tort O Administrative Agency

O Other Civil Appeal OSMALL CLAIMS

DOMESTIC

O MARRIAGE DISSOLUTION/DIVORCE (© PROTECTION FROM ABUSE (© PROTECTION FROM STALKING (© UIFSA
© OTHER DOMESTIC RELATIONS O NON-DIVORCE SUPPORT, CUSTODY OR VISITATION O PATERNITY

PROBATE/ESTATE

 

GUARDIAN /CONSERVATOR O DETERMINATION OF DESCENT O ELDER ABUSE O ADOPTION
O Conservatorship/Trusteeship

O Guardianship - Adult O SEXUALLY VIOLENT PREDATOR © OTHER PROBATE / ESTATE

O Guardianship - Minor

© Guardian/Conservator - Adult O DECEDENT ESTATE O CARE AND TREATMENT

 

 

O Guardian/Conservator - Minor

 

JURY DEMAND @ YES (Check yes only if jury demand is included in petition or as a separate pleading) @©NO

 

 

 

 

 

 

 

 

 

 

 

 

 

SUMMONS ATTACHED: © YES ONO
SERVICE BY: OPROCESS SERVER/ATTORNEY QOSHERIFF IN STATE OSHERIFF OUT OF STATE :
County State :
SHERIFF'S PROCESS FEE ATTACHED © YES ONO
PLAINTIFF / SUBJECT INFORMATION DEFENDANT / OTHER PARTY INFORMATION
(ATTACH ADDITIONAL SHEET, IF NECESSARY) (ATTACH ADDITIONAL SHEET, IF NECESSARY)
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ATTORNEYS ATTORNEYS (if known)
(Firm Name, Address, Telephone Number and Supreme Court ID Number) (Firm Name, Address, Telephone Number and Supreme Court ID Number)

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FOR DOMESTIC CASES - NAME, DATE OF BIRTH AND SOCIAL SECURITY NUMBER OF EACH DEPENDENT CHILD:
(Name) (Date of Birth) (Social Security Number) }

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The requirement that Social Security numbers be included on domestic cases is mandatory, and authorized by the Supreme Court

and federal law. On non-domestic cases, the Social Security number is not mandatory. The number is used for purposes of

identification and may be disclosed as permitted by law. This form is not considered to be a public record.
Johnson County Help Center

Rev. 08/14 01-24-13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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